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     Attorneys for Plaintiff,
14
     RADICAL INVESTMENTS LTD.
15
                              UNITED STATES DISTRICT COURT
16
                             CENTRAL DISTRICT OF CALIFORNIA
17
     RADICAL INVESTMENTS LTD.,               Case No. 2:22-cv-02752-SVW-AFM
18
     a St. Lucia Company,
19                                           Assigned to the Hon. Stephen V. Wilson
                Plaintiff,
20                                           DECLARATION OF RALPH R. LONGO
           v.                                IV RE: PLAINTIFF RADICAL
21
                                             INVESTMENTS, LTD.’S UNILATERAL
22   GOOD VIBRATIONS                         FILING OF EXHIBIT LIST
     ENTERTAINMENT LLC, a Florida
23
     Limited Liability Company, et al.,       Pre-Trial Conf.:   September 11, 2023
24                                            Trial Date:        September 19, 2023
                                              Time:              9:00 a.m.
25                                            Courtroom:         10A

26              Defendants.

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         DECLARATION OF RALPH R. LONGO IV RE: PLAINTIFF RADICAL INVESTMENTS, LTD.’S
                            UNILATERAL FILING OF EXHIBIT LIST
Case 2:22-cv-02752-SVW-AFM Document 306 Filed 08/21/23 Page 2 of 2 Page ID #:4574




      1                       DECLARATION OF RALPH R. LONGO IV
      2   I, Ralph R. Longo IV, hereby declare:
      3          1.       I am an attorney at law duly admitted to practice before this Court on
      4   this matter pro hac vice. I am an attorney at Vazquez & Associates P.A., counsel of
      5   record for Plaintiff Radical Investments, Ltd. (“Plaintiff”). The matters set forth in
      6   this declaration are within my personal knowledge and, if called to do so, I could
      7   and would competently testify thereto.
      8          2.       I make this declaration to apprise the Court of our attempts to comply
      9   with Local Rule (“L.R.”) 16-6.1. At least as early as August 15, 2023, our office
     10   contacted counsel for Defendants Good Vibrations Entertainment, LLC (“GVE”)
     11   and Alex Lee Moore, Jr. (“Moore”) (collectively, “Moore Defendants”) to
     12   coordinate the preparation of a joint exhibit list. Notwithstanding our numerous
     13   follow-up correspondence, the Moore Defendants have not timely provided a list of
     14   exhibits. So as to comply with its pre-trial obligations, Plaintiff is forced to
     15   unilaterally file an exhibit list. Attached hereto as Exhibit A is a true and correct
     16   copy of our correspondence with defense counsel regarding the L.R. 16-6.1 joint
     17   exhibit list.
     18
     19         I declare under penalty of perjury of the laws of the State of California and
     20   the United States that the foregoing is true and correct.
     21
     22         Executed this 21st day of August, 2023 at Miami, Florida.
     23
     24                                              /s/ Ralph R. Longo IV
     25                                          Ralph R. Longo IV, Declarant
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               DECLARATION OF RALPH R. LONGO IV RE: PLAINTIFF RADICAL INVESTMENTS, LTD.’S
                                  UNILATERAL FILING OF EXHIBIT LIST
